                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                   CRIMINAL ACTION

 VERSUS                                     NO: 24-105

 JOVANNA R GARDNER                          SECTION: “D”

                                             VIOLATIONS: 18:1512(k)

                          NOTICE OF SENTENCING

Take notice that this criminal case has been set for SENTENCING on NOVEMBER

19, 2024, at 10:00 a.m. before Judge Wendy B. Vitter, 500 Poydras Street, Courtroom

C-352, New Orleans, LA 70130.

IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION
AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

Date: June 24, 2024                       CAROL L. MICHEL, CLERK
                                          by: Melissa Verdun, Deputy Clerk
TO: JOVANNA R GARDNER- (CUSTODY)
                                          AUSA: Matthew Payne, Brian Klebba and Jeffrey
Counsel for Defendant- Jovanna            McLaren
Gardner:
Graham Bosworth, Esq.- CJA-               U.S. Marshal
gbosworth@bosworthtown.com
                                          U.S. Probation & Pre-Trial Services Unit

                                          Interpreter: none


If you change address,                    FBI- Special Agent Michael Heimbach
notify clerk of court
by phone, 504-589-7708
